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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 TARGUS INTERNATIONAL LLC,

                        Plaintiff,
        v.
                                                 Civil Action No. 20-464-RGA
 VICTORINOX SWISS ARMY, INC.,

                        Defendant.


                DEFENDANT’S MOTION FOR LEAVE TO AMEND ITS
             ANSWER, AFFIRMATIVE DEFENSES, AND COUNTERCLAIMS

       Defendant and Counterclaim-Plaintiff Victorinox Swiss Army, Inc. (“Victorinox”) hereby

moves, pursuant to Federal Rules of Civil Procedure 15(a) and 16(b), for leave to amend its

Answer, Affirmative Defenses, and Counterclaims.

       A copy of the proposed Amended Answer, Affirmative Defenses, and Counterclaims is

attached hereto as Exhibit 1, and a redline version of the Amended Answer and Counterclaims,

indicating the changes from the original Answer, Affirmative Defenses, and Counterclaims (D.I.

11), is attached hereto as Exhibit 2. A Proposed Order granting this motion is attached hereto as

Exhibit 3. Victorinox’s motion is supported by its opening brief and the Declaration of Kelly J.

Fermoyle and the Exhibits thereto.

                                              /s/ Francis DiGiovanni           _____
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Dated: January 15, 2021
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 TARGUS INTERNATIONAL LLC,

                         Plaintiff,
        v.
                                                 Civil Action No. 20-464-RGA
 VICTORINOX SWISS ARMY, INC.,

                         Defendant.

                                             ORDER

       Having considered Defendant and Counterclaim-Plaintiff Victorinox Swiss Army, Inc.’s

Motion for Leave to Amend its Answer, Affirmative Defenses, and Counterclaims (the “Motion”),

       The Motion is GRANTED, and Victorinox Swiss Army, Inc.’s Amended Answer,

Affirmative Defenses, and Counterclaims, in the form attached as Exhibit 1 to the Motion, is

deemed filed as of the date of this Order.

       SO ORDERED this _____ day of _________________, 2021.


                                             ________________________________
                                             United States District Judge
